                   THE THIRTEENTH COURT OF APPEALS

                                   13-23-00229-CV


                                  Kenton McDonald
                                         v.
                                Branscomb P.C. et al.


                                  On Appeal from the
                  County Court at Law No. 3 of Nueces County, Texas
                      Trial Court Cause No. 2018CCV-62430-3


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes that the judgment of the trial court should be affirmed. The Court

orders the judgment of the trial court AFFIRMED. Costs of the appeal are adjudged

against appellant individually and as surety on the supersedeas bond. Judgment is

rendered against the appellant individually and as surety on the supersedeas bond.

      We further order this decision certified below for observance.

August 22, 2024
